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                                    UNITED STATES DISTRICT COURT
                                     MIDDLE DISTRICT OF FLORIDA
                                         ORLANDO DIVISION


DANIEL CUNNINGHAM,

                     Plaintiff,

v.                                                           Case No: 6:18-cv-325-Orl-37DCI

PROGRESSIVE SELECT INSURANCE
COMPANY,

                     Defendant.

 UNITED STATES M AGISTRATE JUDGE:   Embry J. Kidd                 COURTROOM:    4C

 DEPUTY CLERK:                      T. LeGros                     COUNSEL FOR   Charles Parker, Jr.
                                                                  PLAINTIFF:    V. Rand Saltsgaver

 AUDIO RECORDING:                   Digital                       COUNSEL FOR   Daniel A. Martinez
                                    Orlando_Digital_Transcripts   DEFENDANT:
                                    @flmd.uscourts.gov
 DATE/TIME:                         September 11, 2019
                                    9:30 A.M.- 3:05 P.M.
 TOTAL TIME:                        5:35



                                        CLERK’S MINUTES
                                    SETTLEMENT CONFERENCE

Case called, appearances made, procedural setting by the Court.
Opening statement by defense counsel.
Settlement conference begins off the record (9:43)
The parties attended with appropriate representatives and reached a SETTLEMENT
Conference concludes at 3:05 PM
